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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                 CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

           Plaintiff,
  v.

  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

           Defendants.
                                         /

                                               ORDER

           THIS CAUSE comes before the Court upon Defendant Waltine Nauta’s Unopposed

  Motion for Extension of Time [ECF No. 723] to Respond to American Oversight’s Expedited

  Motion to Intervene and For Clarification or, Alternatively, Dissolution of January 21, 2025, Order

  [ECF No. 717] (the “Motion”). 1

           Upon review of the Motion, and to ensure an efficient resolution of pending matters, it is

  ORDERED AND ADJUDGED as follows:

           1. The Motion [ECF No. 723] is GRANTED.

           2. On or before March 14, 2025, Defendants Nauta and De Oliveira shall file a

               combined response to the pending motions by American Oversight [ECF No. 717]

               and the Knight First Amendment Institute [ECF No. 721]. The body of the response

               shall not exceed thirty double-spaced pages.




  1
      Defendant Carlos De Oliveira subsequently joined Defendant Nauta’s Motion [ECF No. 725].
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        3. The United States also shall file a response, not to exceed thirty double-spaced pages,

           to the pending motions by American Oversight and the Knight First Amendment

           Institute [ECF Nos. 717, 721], on or before March 21, 2025.

        4. The joint status report deadline [ECF No. 714 pp. 13–14] is hereby extended to the

           same March 14, 2025, deadline and must be submitted by all remaining parties to this

           action, noting any disagreement as applicable.

        5. Finally, on or before March 10, 2025, the United States shall file an appearance in

           this matter or indicate which of the present attorneys of record represents the United

           States’ interests in this case going forward.

        ORDERED in Chambers at Fort Pierce, Florida, this 28th day of February 2025.




                                                           _________________________________
                                                           AILEEN M. CANNON
                                                           UNITED STATES DISTRICT JUDGE


  cc:   counsel of record




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